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RETAIL INSTALLMENT SALE CONTRACT DEAL #56478
SIMPLE FINANCE CHARGE cust #71483
Buyer Name and Address iIncluding County and Zip Code} | Co-Buyer Name and Address (including County and Zip Code}| Seller-Creditor (Name and Address)
JASON HENRY ALLEN N/A GEORGE GEE CADILLAC KIA
2600 E SELTICE WAY 317 W DALTON AVE
POST FALLS, 1D 83854 COEUR D'ALENE, ID 83815
COUNTY: KOOTENAI
Cell: 323-377-5620 Cel: N/A 208-667-7416
Email: JASON.ALISTOR@ GMAIL.COM Email: N/A

You, the Buyer (and Co-Buyer, if any), may buy the vehicle below for cash or on credit, By signing this contract, you choose to buy the vehicle on
credit under the agreements in this contract. You agree to pay the Seller - Creditor (sometimes “we” or “us” in this contract} the Amount Financed and
Finance Charge in U.S. funds according to the payment schedule below. We will figure your finance charge on a daily basis. The Truth-In-Lending

Disclosures below are part of this contract.

New/Used Year Make and Model Vehicle identification Number Primary Use For Which Purchased
Personal, family, or household unless
TOYOTA C4 / otherwise indicated below
USED 2023 BASPX business
SEQUOIA TSVAAA 014784 (_] agricultural co __N/A
a Ee eee OsuneS Tor Sar Returned Payment Charge: You agree to pay a charge of
FROUTY otal oO otal Sale i j
PERCENTAGE | CHARGE Financed Payments Price § ——20.00___ if any check or any electronic
RATE The dollar The amount of The amount you | The total cost of payment you give us is dishonored.
The cost of amount the credit provided | will have paid after | your purchase on
your credit as credit wil to you or i you have made all | credit, including NOTICE: ANY HOLDER OF THIS
a yearly rate. cost you. on your behalf. payments as your down
a diulod deyment of CONSUMER CREDIT CONTRACT IS
5 0.00 jg SUBJECT TO ALL CLAIMS AND
6.49 YF 18058.18 | ¢ 84700.94 | ¢$ 102759.12 | $ 102759.12 AULD S SEY H ARNSE Tne
Your Payment Schedule Will Be: (e) means an estimate see GOODS OR SERVICES
Nurnber of A t OF When P. i
Payments Payments Ne Bue WITH THE PROCEEDS HEREOF.
RECOVERY HEREUNDER BY THE
7213 1427.21 MONTHLY beginning 12/02/2024 DEB Ts SHALL cH E SOR
HEREUNDER.
na [$ NIA NA
The preceding NOTICE applies only to
goods or services obtained primarily for
N/A personal, family or household use. In all
other cases, Buyer will not assert against
Late Charge. if payment is not received in full within 10 days after itis due, you will pay alate charge any subsequent holder or assignee of
of $18.00. or __5 __% of the part of the payment that is late, whichever is__Greater this contract any claims or defenses the
Prepayment. If you pay early, you will not have to pay a penalty. Buyer (debtor) may have against the
Security Interest. You are giving a security interest in the vehicle being purchased. Seller, or against the manufacturer of the
Additional information: See this contract for more information including information about nonpayment, vehicle or equipment obtained under this
detaull, any required repayment in full before the scheduled date and security interest. contract.

Used Car Buyers Guide. The information you see on the window form for this vehicle is part of this contract. Information on the window
form overrides any contrary provisions in the contract of sale.

Spanish Translation: Guia para compradores de vehiculos usados. La informacion que ve en el formulario de la ventanilla para este
vehiculo forma parte del presente contrato. La informacién del formulario de la ventanilla deja sin efecto toda disposicién en contrario

contenida en el contrato de venta.

(] VENDOR'S SINGLE INTEREST INSURANCE (VS! insurance): If the preceding box Is checked, the Creditor requires VSI insurance for the initial term of the
contract te protect the Creditor for loss or damage to the vehicie (collision, fire, theft, concealment, skip). VSI insurance Is for the Creditors sole protection. This
insurance does not protect your interest in the vehicle. You may choose the insurance company through which the VSI insurance is obtained. If you elect
to purchase VS! insurance through the Creditor, the cost of this insurance is $ and is also shown in Iter 48 of the itemization of Amount
Financed. The coverage is for the initial term of the contract.

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10/18/2024 07:00 pm

N/A LAW 553-ID-eps 6/23 v1 Page 1 of 4

yee “icon. HW ALLEN
A

Buyer Signs X j TE MS OF Co-Buyer Signs X
WLS —

User

ITEMIZATION OF AMOUNEARANGE-CV-00172-AKB Documenti1-2 Filed 04/28/&&nrancé @G Maphay tre bhysical damage insurance
ef . this contract requires from anyone you choose who Is
1 Cash Price (including $___4483.94 _ sales tax) $ 79392.94 __(1)| | acceptable to us. You may also provide the physical
damage insurance through an existing policy owned or
~ controlled by you that is acceptable fo us. You are not
2 Tolal Downpayment N/A required to buy any other insurance to obtain credit
Trade-in 7 Wak unless the box indicating Vendor's Single interest
(Year) (Make) (Model) Ingurance ig required is checked on page 1.
lf any insurance is checked below, policies or
Gross Trade-In Allowance $ N/A certificates from the named insurance companies will
Less Pay Off Made By Seller to N/A $ N/A describe the terms and conditions.
Equals Net Trade In $ N/A Check the insurance you want and sign below:
+ Cash $ NIA Optional Credit Insurance
+ Other N/A $ NIA Cl Credit Lite: [] Buyer £] Co-Buyer [1] Both
+ Other N/A $ NIA [7] Credit Disability: Cl Buyer [7 Co-Buyer [7 Both
+ Other .N/A $ N/A Premiun:
(if total downpayment is negative, enter “0” and see 4J below} $ 0.00 __ (2) Credit Life $ N/A
3 Unpaid Balance of Cash Price (1 minus 2) $ ___.__-_ 7 9392.94 (3) Credit Disability $ N/A
4 Other Charges Including Amounts Paid to Others on Your Behalf Insurance Company Name NA
(Seller may keap part of these amounts}: N/A
A Cost of Optional Credit Insurance Paid to Insurance Company or Companies. Home Office Address N/A,
Life $ NIA N/A
isabili Credit life insurance and credit disability insurance are not
Bisabi i - ” $ NIA $ NA required to obtain credit. Your decision to buy or not to buy
B Vendor's Single interest Insurance Paid to Insurance Company § N/A credit le insurance and credit disability insurance will not
C Oiher Optional Insurance Paid to insurance Company or Comparies $ N/A be a factor in the credit approval process. They will not be
° provided unless you sign and agree to pay the extra cost. If
D Optional Gap Contract $ 895.00 you choose this insuranos, the cost is shown in Hem 4A of
E Official Fees Paid to Government Agencias $ N/A the ltemization of Amount Financed, Credit life insurance is
* ~ based on your original payment schedule, This insurance
F Government Taxes Not Included in Cash Price $ N/A, may not pay all you owe on this contract if you make late
G Government License and/or Registration Fees payments. Credit disabily insurance does not cover any
increase in your payment or in the number of payments.
N/A Coverage for credit life insurance and credit disability
N/A $ N/A insurance ends on the original due date for the last payment
“ ~ unless a different term for the insurance is shown below,
H Government Certificate of Tille Fees $ 19.00
I Optionai Service Contract** Paid to
PROSIDIUM VSC $ 3995.00
d Other Charges (Seller must identify who is paid and describe purpose)
to for Prior Credit or Leasa Balance $ N/A 0 Ooti th
to GEORGE GEE CADILLAC KtA DOCUMENTATION FEE $ 399.00 x VER ther prone nsurance os
AR = a = z
to N/A for_NiA $ N/A Type of Insurance Term
fo NIA for N/A $ NIA
to N/A for N/A $ NIA Premium § 3895.00
10 N/A for WA $ NIA Insurance Company Name _N/A
lo N/A for N/A $ N/A NIA
10 WA ‘or N/A $ NIA Home Office Address N/A
to N/A for N/A $ NIA 5 N/A NA NA
io .WA for N/A $ WA Type of Insurance Term
10 NA for N/A $ NIA NIA
to N/A for_N/A g N/A Premium §
to NIA for NIA $ NIA insurance Company Name _N/A
Total Other Charges and Amounts Paid to Others on Your Behaif $ 5308.00 __ (4) NIA ” NIA
5 Amount Financed (3 +4) $___.84700.94 6) fer, ne Address
“Purchase of an optional Service Contract Is not required either to purchase or to obtain financing for the Vehicle. em - ~ °
Other optional insurance is not required fo obtain credit.
Your decision to buy or not buy other optional insurance wil
OPTION: C] You pay no finance charge if the Amount Financed, item 5, is paid in full on or before prowiged Lae vou seyn and cares te pov the ae eae
NIA Year N/A. SELLER'S INITIALS NVA .
. | want the ing a checked aboys.
OPTIONAL GAP CONTRACT. A gap contract (debt cancellation contract) is not required to obtain credit and will not be provided x7 ~ 40/18/2024
uriless you sign below and agree to pay the extra charge. If you choose fo buy a gap contract, the charge is shown in tem 4D of the Buyer Signature , Date
itemization of Amount Financed. See your gap contract for details on the terms and conditions if provides. it is a parl of this contract,
X N/A 10/18/2024
Teer 72 . Mos. PROSIDIUM GAP Co-Buyer Signature Date
Name of Gap Contract
| want to buy a gap con $y . - Orn. P THIS INSURANCE DOES NOT INCLUDE INSURANCE
Buyer Signs X (Sag. Lad yA Mp WANT Ned t a ON YOUR LIABILITY FOR BODILY INJURY OR
t ?
PAY TY THE OND RIL SNK RET RLCEV PROPERTY DAMAGE CAUSED TO OTHERS.
IT yet WITHOUT SUCH INSURANCE YOU MAY NOT
Ue 104657"1"GGc-F1_ | OPERATE THIS VEHICLE ON PUBLIC HIGHWAYS.

. . Yi 10/18/2024 06:58 pm
Buyer Signs X ~. Co-Buyer Signs X _! N/A LAW 553-1D-eps 6/23 vi Page 2 of 4

OTHER IMPORTANE AGREEMENTS -AKB

Document 11-2

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1. FINANCE CHARGE AND PAYMENTS

a,

How we will figure Finance Charge. We will figure the
Finance Charge on a daily basis at the Annual Percentage
Rate on the unpaid part of the Amount Financed.

How we will apply payments. We may apply each
payment to the earned and unpaid part of the Finance
Charge, to the unpaid part of the Amount Financed and to
other amounts you owe under this contract in any order we
choose as the law allows.

How late payments or early payments change what you
must pay. We based the Finance Charge, Total of
Payments, and Total Sale Price shown on page 1 of this
contract on the assumption that you will make every
payment on the day it is due. Your Finance Charge, Total of
Paymenis, and Total Sale Price will be more if you pay late
and less if you pay early. Changes may take the form of a
larger or smaller final payment or, at our option, more or
fewer payments of the same amount as your scheduled
payment with a smaller final payment. We will send you a
notice telling you about these changes before the final
scheduled payrnent is due.

You may prepay. You may prepay ail or part of the unpaid
part of the Amount Financed at any time without penalty. if
you do so, you must pay the earned and unpaid part of the
Finance Charge and all other amounts due up to the date
of your payment.

Your right to refinance a balloon payment. A balloon
payment is a scheduled payment that is more than twice as
large as the average of your earlier scheduled payments. If
you are buying the vehicle primarily for personal, family, or
household use, you have the right to refinance the balloon
payment when due without penalty, The terms of the
refinancing will be no jess favorable to you than the terms
of this contract. This provision does not apply if we adjusted
your payment schedule to your seasonal or irregular
income.

2. YOUR OTHER PROMISES TO US

a.

Buyer Signs X Wr MGA Signs x N/A

lf the vehicle is damaged, destroyed, or missing. You
agree to pay us all you owe under this contract even if the
vehicle is damaged, destroyed, or missing.
Using the vehicle. You agree not to remove the vehicle
fromm the U.S, or Canada, or to sell, rent, lease, or transfer
any interest in the vehicle or this contract without our written
permission. You agree not to expose the vehicle to misuse,
seizure, confiscation, or involuntary transfer. If we pay any
repair bills, storage bills, taxes, fines, or charges on the
vehicle, you agree to repay the amount when we ask for it.
Security Interest.
You give us a security interest in:
* The vehicle and all parts or goods put on it;
e ~All money or goods received (proceeds) for the vehicle;
« All insurance, maintenance, service or other contracts
we finance for you; and
* All proceeds from insurance, maintenance, service or
other contracts we finance for you. This includes any
refunds of premiums or charges from the contracts.
This secures payment of all you owe on this contract. It also
secures your other agreements in this contract. You will
make sure the title shows our security interest (lien) in the
vehicle. You will not allow any other security interest to be
placed on the title without our written permission.
Insurance you must have on the vehicle. You agree to
have physical damage insurance covering loss of or
damage to the vehicle for the term of this contract. The

insurance must cover our interest in the vehicle. You agree
to name us on your insurance policy as loss payee. If you
do not have this insurance, we may, if we choose, buy
physical damage insurance. If we decide to buy physical
damage insurance, we may either buy insurance that
covers your interest and our interest in the vehicle, or buy
insurance that covers only our interest. If we buy either type
of insurance, we will tell you which type and the charge you
must pay. The charge will be the prernium for the insurance
and a finance charge computed at the Annual Percentage
Rate shown on page 1 of this contract, or, at our option, the
highest rate the law permits.

If the vehicle is lost or damaged, you agree that we may use
any insurance settlement to reduce what you owe or repair
the vehicle.

What happens to returned insurance, maintenance,
service, or other contract charges. If we obtain a refund
of insurance, maintenance, service, or other contract
charges, you agree that we may subtract the refund from
what you owe,

3. IF YOU PAY LATE OR BREAK YOUR OTHER PROMISES

a.

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You may owe late charges. You will pay a late charge on
each late payment as shown on page 1 of this contract.
Acceptance of a late payment or late charge does not
excuse your late payment or mean that you may keep
making late payments.
if you pay late, we may also take the steps described below.
You may have to pay all you owe at once. If you break
your promises (default), we may demand that you pay all
that you owe on this contract at once. Default means:
‘* You do not pay any payment on time: or
* You give false, incomplete, or misleading information
during credit application, you start a proceeding in
bankruptcy or one is started against you or your
property, or you break any agreements in this contract,
except that if you bought the vehicle primarily for
personal, family, or household purposes, we will only
treat these events as defaults if they significantly impair
the prospect of payment, performance, or realization of
the collateral.
The amount you will owe will be the unpaid part of the
Amount Financed plus the earned and unpaid part of the
Finance Charge, any late charges, and any amounts due
because you defaulted.
You may have to pay collection costs. If we hire an
attorney who is not cur salaried employee to collect what
you owe, you will pay the attorney's reasonable fee and
court costs, as the law allows. You will also pay any
reasonabie collection costs we incur to enforce our security
interest, as the law allows.
We may take the vehicle from you. If you default, we may
take (repossess) the vehicie from you If we do so peacefully
and the law allows it. If your vehicle has an electronic
tracking device (such as GPS), you agree that we may use
the device to find the vehicle. If we take the vehicle, any
accessories, equipment, and replacement parts will stay
with the vehicle. lf any personal items are in the vehicle, we
may store them for you. If you do not ask for these items
back, we may dispose of them as the law allows.
How you can get the vehicle back if we take it. If we
repossess the vehicle, you may pay to get it back (redeem).
We will tell you how much to pay to redeem. Your right to
redeem ends when we sell the vehicle.

10/18/2024 06:58 pm

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i. We wills iele.tf it - |
do not rontsGhtewee ey erae RE inn toes Cent 1132 SERVICING AND COLLEC SN CONTACTS

written notice of sale before selling the vehicle. in consideration of our extension of credit to you, you agree to
We will apply the money from the sale, less allowed provide us your contact Information for our servicing and
expenses, to the amount you owe. Allowed expenses are collection purposes. You agree that we may use this information
expenses we pay as a direct result of taking the vehicle, to contact you in writing, by e-mail, or using prerecorded/artificial
holding it, preparing it for sale, and selling it. Attorney fees voice messages, text messages, and automatic telephone
and court costs the law permits are also allowed expenses. dialing systems, as the law allows. You also agree that we may
If any money is left (surplus), we will pay it to you unless the try to contact you in these and other ways at any address or
law requires us to pay it to someone else. if money from the telephone number you provide us, even if the telephone number
sale is not enough to pay the amount you owe, you must is a cell phone number or the contact results in a charge to you.
pay the rest to us unless the law provides otherwise. If you You agree to allow our agents and service providers to contact
do not pay this amount when we ask, we may charge you you as agreed above.
interest at a rate not exceeding the highest lawful rate until You agree that you will, within a reasonable time, notify us of any
you pay. change in your contact information.

g. What we may do about optional insurance, mainte-
nance, service, or other contracts. This contract may 6. APPLICABLE LAW
contain charges for optional insurance, maintenance, Federal law and the law of the state of Idaho apply to this
service, or other contracts. If we demand that you pay all contract.

you owe at once or we repossess the vehicle, you agree
that we may claim benefits under these contracts and 7. NEGATIVE CREDIT REPORT NOTICE

cancel them to obtain refunds of unearned charges to We may report information about your account to credit
reduce what you owe or repair the vehicle. If the vehicle is bureaus. Late payments, missed payments, or other defaults
a total joss because it is confiscated, damaged, or stolen, on your account may be reflected in your credit report.

we may claim benefits under these contracts and cancel
them to obtain refunds of unearned charges to reduce what
you owe.

4. WARRANTIES SELLER DISCLAIMS

Uniess the Seller makes a written warranty, or enters into a
service contract within 90 days from the date of this
contract, the Seller makes no warranties, express or
implied, on the vehicle, and there will be no implied
warranties of merchantability or of fitness for a particular
purpose.

This provision does not affect any warranties covering the vehicle
that the vehicle manufacturer may provide.

The Annual Percentage Rate may be negotiable with the Seller. The Seller may assign this contract
and retain its right to receive a part of the Finance Charge.

aling to this contract. Any change fo this contract must be in writing
Ag ppp pg C0-Buyet Signs x N/A

HOW THIS CONTRACT CAN BE CHANGED. This contract contains the ene af p
6 any ol OUF rights under this contract without losing them. For example, we

and we must sign it, No oral changes are binding. Buyer Signs X4 Mf
If any part of this contract is not valid, all other parts stay valid. We maydpldy oFtefrafatind
may extend the time for making some payments without extending the time for making others.
See the rest of this contract for other important agreements.

NOTICE TO RETAIL BUYER: Do not sign this contract in blank. You are entitled to a copy of the contract at the time
you sign. Keep it to protect your legal rights.

You agree to the terms of this contract. You confirm that before you signed this contract, we gave it to you, and you were
free to take it and review it. You confirm that you received a completely filled-in copy when you signed it.

Buyer Signs fT pe hos GE Wrain00 Co-Buyer Signs X N/A Date N/A

Buyer Printed N 9. AASON HENRY ALLEN Co-Buyer Printed Name N/A
If the "business" use béx is checked in “Primary Use for Which Purchased": Print Name N/A Title N/A

Co-Buyers and Other Owners ~~ A co-buyer is a person who is responsible for paying the entire debt. An other owner is a person whose name is on the title to the vehicle but does not
have to pay the debt. The other owner agrees fo the security interest in the vehicle given to us in this contract.

ES

wn

Other owner signs here X_NA Address N/A —
Seller signs GEORGE GEE CADILLAC KIA Date 10/18/2024 By X Tite F&I MGR
Seller assigns its interest in this contract to. LCG (Assignee) under the terms of Seller's agreement(s) with Assignee.
[] Assigned with recourse IX! Assigned without recourse [7] Assigned with limited recourse
Selle GEORGE GEE CADILLAC KIA
By X a Tile Fai MGR
LLANE FORM NO. 553: Fences es novo coneuron 1OAGS7*T"GGC-FI 10/18/2024 06:58 pm
FITNESS FOR PURPOSE OF PS FORM, CONSULT YOUN OWN LEGAL COUNSEL, LAW 553-1D-eps 6/23 v1 Page 4 of 4

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GEORGE GEE CADILLAC KIA

317 W DALTON AVE DEAL# 56475
COEUR D'ALENE, ID 83815 CUST# 71483
208-667-7416

INSURANCE COVERAGE ACKNOWLEDGEMENT

Customer Name(s): JASON HENRY ALLEN Date: 10/18/2024

Street Address: 2600 E SELTICE WAY. POST FALLS ID 83854

Home Telephone: Work Telephone:
Driver's License #:61717083 Issuing State:cA Expiration Date: 10/18/2024
Vehicle: 2023 TOYOTA SEQUOIA TSVAAABASPX011784.
Year Make Model Vehicle identification Number (VIN)

| understand that the Retail Installment Sales Contract or Lease Contract (“Finance Contract”) that | signed in
connection with my purchase/lease of the above-described vehicle requires me to provide and maintain insurance
on the vehicle against the risks of loss or damage. | understand that this insurance must be in an amount equal to
the lesser of the unpaid amount due under the Finance Contract or the value of the vehicle and must be maintained
for the entire term of the Finance Contract. | also understand that the holder of the Finance Contract must be named
as the loss payee and that the failure to maintain said insurance coverage may be an event of a default under the
Finance Contract. In the event of a default, the holder of the Finance Contract may pursue all of the remedies
provided by law and in the Finance Contract as it deems appropriate. Having been advised that | may obtain
insurance coverage from a company and agent of my choice, | have selected:

Insurance Company: GEICO Policy #: 4613336397

Agent's Name: Telephone:

Address:

Insurance Coverage: i Collision $ 500.00 Deductible [Comprehensive $ 500.00 Deductible
Policy Effective From: 10/08/2024 To:_12/28/2024 Named Loss Payee:_ Lt

Address PO BOK 2UCT Pocatello rp. 33906

By signing below, | acknowledge that | have read this Insurance Coverage Acknowledgement and understand
my obligation to maintain insurance coverage on the above-described vehicle. | further acknowledge and
agree that | have given the Dealership permission to contact my Insurance Company to verify that | have
insurance coverage for the vehicle.

om ooeueeenereee
tay hee Nng ch bth x eo S10118/2024 oT 10/18/2024

Customer Date Authorized Dealership Representative Date
N/A N/A
Customer Date

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DéalerCAP CATALOG #9963022 @ 2015 CDK Global, LLC (01/18)

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PROS | D I U M 150PGRO00739756W

GAP ADDENDUM
The Addendum is between the Customer/Borrower (You or Your}, the Dealer/Creditor, or, if assigned, the Assignee (We, Us, or Our)
CustomerBorrower Address
JASON H ALLEN 2600 E SELTICE WAY
City State Zip Customer Phone #
POST FALLS ID 83854 323-377-5620
Co-CustomenBorrower Address
Chy State Zip Co-Customer Phone #
DealerCreditor Dealer/Account # Financial instintion / Lender
George Gee Cadillac Kia 41167 EO ON
Address Address
317 W Dalton Ave PO BOX 2Yo%
City State Zip City State } zip
Coeur d'Alene iD 83815 i Pocatel & iD R320 be
Year Make Model Charge for Addendum | APR % Term of Addendum
2023 TOYOTA SEQUOIA PLATINUM $895.00 eae 6.47 72 Months
VIN New MSRP / NADA Amount Financed Effective Date
7SVAAABABPX011784 [used | $0.00 $80,705.04 10/18/2024
PROGRAM LIMITS
Maximum AFVR Maximum Maximurn Limit of Maximum Amount Financed Financing Contract
150% Tem Coverage Limit
MSRP/NADA 84 Months $50,000 $100,000 Loan CJucase oF etail Installment Sales Contract

This Addendum amends the Financing Contract, h theeventof a Constructive Total Loss of the Collateral, we pereby agree towaive our rights against youfor the amount due under a Qualifying
Loss, You will remain responsible for any past due amounts, payments exchanges, or ary terms listed in the Exclusions, This Addendum wil fallow the Financing Contract wihno submgaton rights
against the Gustomer/Borrower if the Financing Contract is sold or assigned by us.

Although not required todo so, you élect to purchase this Addendum for an addiional charge which is shown above, You may, asan altemativeto purchasing this Addendum, be able to purchase
asimilar product from a company of your cholca, This GAP Program isnota substitute for collision or property damage Insurance, does not take the placeof insurance on the Collateral
and does not affordcollision, comprehensive, or any other form of automobile insurance coverage. You are responsible forall commurications with your Primary Cartier including notice and clams. If
you purchase this Addendum from us, you understand that we may retain all or a portion of the charge pald by you.

ENROLLMENT ISAVAILABLE ONLY AT THE TIME THE FINANCING CONTRACT IS ORGINALLY EXECUTED. BY YOUR SIGNATURE BELOW, YOU ACKNOWLEDGE AND AGREE THAT YOUR
ACCEPTANCE OF THIS ADDENDUM IS VOLUNTARY AND IS NOT REQUIRED IN ORDER FOR YOU TO OBTAIN CREDIT, DOES NOT IMPACT THE CREDIT TERMS, AND HAS NO EFFECT ON
THE TERMS OF THE RELATED SALE OF THE COLLATERAL,

The coverage under this Addendum may decrease over the term of your Financing Contract, You should carefully read the frontand back of this Addendum for addtional information on conditions,
limitations and exclusions that could prevent you fram receiving the amount due under a Qualifying Loss attributed to a Constructive Total Loss.

YOUR RIGHT TO CANCEL: You have the unconditional right to cancel this optional Addendum for a refund/credit of the unearned portion of the charge for this
Addendum at any time. If the Addendum js terminated or cancelled by You within 30 days of the Addendum purchase, you will receive a full refund/credit of
the Addendum cost, provided no Constructive Total Loss has ocourred. After 30 days, you will receive a refund/credit of the Addendum cost calculated by the
Pro Rata refund method, or by the refund method as may be required by state or federal law, less a $50.00 cancellation fee, where such cancellation fee is
permitted by law. To terminate or cancel this Addendum and request a retund/credit, you should, or as required by the lender, contact the Dealer/Creditor or
the Administrator, in writing, at the addresses above and below on this page. If the refund/credit is not received within 60 days of notice of cancellation, contact
the Administrator shown below. In the event of a cancellation, the Financial Institution/Lender will be named as payee on all refunds and sole payee on a
repossession refund, Any condition or exclusion that voids coverage will provide a full refund.

By your signature below, you acknowledge you have read and understand the Addendum and its conditions, and no other verbal representations have been made to you that differ from these written
provisions and thatthis Addendum is nof an insurance policy or part of an insurance policy. You authorize release of Finansing Contract, or any other information required for processing this
Addendum or processing of a loss.

STOP AND READ:

YOU CANNOT BE REQUIRED TO BUY A GAP WAIVER OR ANY OTHER OPTIONAL ADD-ON PRODUCTS OR SERVICES, IT IS OPTIONAL. NO ONE
CAN MAKE YOU BUY A GAP WAIVER OR ANY OTHER OPTIONAL ADD-ON PRODUCTS OR SERVICES TO GET FINANCING, TO GET CERTAIN
FINANCING TERMS, OR TO GET CERTAIN TERMS FOR THE SALE OF A VEHICLE. IT IS UNLAWFUL TO REQUIRE OR ATTEMPT TO REQUIRE THE
PURCHASE OF THIS GAP WAIVER OR ANY OTHER OPTIONAL ADD-ON PRODUCTS OR SERVICES.

Administraf@r; Prosidium Warranty & Capital, 1500A E. College Way, PMB 541, Mount Vernon, WA 98273, (866) 330-6117
10/18/2024

uf Uf AL 10/18/2024
arisorower signatur Dale Dealer Creditor Date
Bue
ithe LS 40/18/2024 Aw A.

Co-Customer/Borrower Signature Date Title

POMGAP150-A-001 (09/2024) Page | 4

Case 2:25-cv-00172-AKB Document11-2 Filed 04/28/25 Page 7 of 20

AGREEMENT NUMBER

FOR SALE IN THE

US. WHERE PROSIDIUM AGREEMENT PKS00739757W
ee TATE LAW. KEY SHIELD — DECLARATION PAGE

anernone HUMBER —
323-377-5620

ZIP CODE

NAME ”
ALLEN

ADDRESS
2600 E SELTICE WAY

YEAR 'MAKE " " PURCHASE DATE

2023 TOYOTA SEQUOIA PLATINUM 10/18/2024
VEHICLE IDENTIFICATION VEHICLE PURCHASE PRICE ODOMETER
7SVAAABA8PX01 1784 $74,500.00 21,270
a a ee oo
AGREEMENT PURCHASE PRICE TERM PLAN TYPE
$399.00 _ 84 Months

WineEw ([JUSED
re oe ere eee 07) 1 2-7/2 oe) me) <a cell) wale)” a
DEALER NAME, ADDRESS, CITY, STATE, ZIP CODE

George Gee Cadillac Kia 317 W Dalton Ave , Coeur d'Alene, ID 83815

TELEPHONE NUMBER BEALER NUMBER
208-209-3353 1167

LIEN HOLDER NAME, ADDRESS, CITY, STATE, ZIP CODE TELEPHONE NUMBER
FCC Veet A467 PaenfblloLy R3ace
ee roi aca el ee

The ADMINISTRATOR of this AGREEMENT is Principal Warranty Corp., at 1500A E. College Way, PMB 541, Mount Vernon, WA 98273.
The telephone number is (800) 963-0232.

The entity obligated to perform under this Acreement, which is referred to as “We”, “Us” and “Our” throughout the AGREEMENT
Terms and Conditions, is Northcoast Warranty Services, Inc., 800 Superior Avenue E, 21st Floor, Cleveland, OH 44114, (866)
927-3097, unless indicated otherwise in the Special State Disclosures,

tt a

208-746-8900

Should You have any questions concerning coverage or benefits under this AGREEMENT, You may call Our claim center at (800)
963-0232 for assistance,

All 24-Hour Roadside Assistance services and membership benefits are provided by SafeRide Motor Club, Inc., at 13801 Midway
Rd, Suite 102.429, Dallas, TX 75244.4388, See Page 3-4,"24.Hour Roadside Assistance Benefits", for more details.

Purchase of this AGREEMENT is not required in order to purchase or obtain financing for a motor vehicle. This AGREEMENT is not
valid unless this DECLARATION PAGE Is completed and attached to the AGREEMENT Coverage TERMS & CONDITIONS.

Pee CRU eee AC emit oe

This DECLARATION Pace shall be the basis upon which the Acrrement is issued. Your signature indicates that You have read the
information set forth herein and agree that it is true and correct and that You accept the terms and provisions of this AGREEMENT
and agree to be bound by the terms thereof.

You acknowledge Your understanding of the Arbitration Clause in the Arbitration section.
You acknowledge receipt of two (2) properly functioning master keys and/or transponders (where applicable).

"AGREEMENDTOLDER 'S SIGNATURE DATE DEALER AUTHORIZED SIGNATURE DATE
XByeAT 10/18/2024 |X _& 10/18/2024
AWB PES C-

ADMINISTRATOR COPY / CUSTOMER COPY / DEALER COPY / LIENHOLDER COPY
©Copyright 2620, Principal Warranty Corp., LLC, All Rights Reserved

i
PKS-NWS-WIC-NAT-001 (12/2020)

Case 2:25-cv-00172-AKB Document11-2 Filed 04/28/25 Page 8 of 20

AGREEMENT NUMBER

VEHICLE SERVICE AGREEMENT

PROSIDIUM DECLARATION PAGE
AUTO CARE

PMN Me ee ee ae
MI TELEPHONE NUMBER

FOR SALE IN THE U.S.
WHERE PERMISSIBLE BY
STATE LAW

AC300739759W

LAST NAME

FIRST

ALLEN JASON H (323) 377-5620

ADDRESS cry STATE /ZIP CODE
POST FALLS 1D 83854

2600 E SELTICE WAY

a ee ae Bian lean Sites wee) Ay ee
YEAR MAKE MODEL MANDATORY SURCHARGES
2023 TOYOTA SEQUOIA PLATINUM Hybrid Run Kit
VEHICLE IDENTIFICATION NUMBER VEHICLE PURCHASE PRICE | ODOMETER IN-SERVICE DATE [WRAP PLAN)
TSVAAABABPXO1 1784 $74,500.00
eee a ae ra Peed aie ewe ela eee
PURCHASE DATE AGREEMENT PURCHASE PRICE TERM PLAN TYPE
10/18/2024 $3,995.00 loli orn: 84 Miles: 100,000 NEw CluseD
DEDUCTIBLE SELECTED ese OPTIONAL COVERAGE (SURCHARGE APPLIES)
[] $100 Standard $50 [") $200 Ci Business Use (]Tech Package
TYPE OF COVERAGE
C Maximum Plan Maximum WRAP Plan ("] Certified Plan
C] Preferred Plan ("] Power Train Plus Plan [] Power Train Plan

New Vehicle Plans (except WRAP & Certified Plans) start on contract purchase date and 0 miles.
Used Vehicle Plans (except WRAP & Certified Plans) start on contract purchase date and sale odometer miles.
New WRAP & Certified Plans start on vehicle's original in-service date and 0 miles.

a EESTI ee TMI

DEALER NAME LIEN HOLDER NAME

George Gee Cadillac Kia Pe et

DEALER ADDRESS, CITY, STATE, ZIP CODE It HOLDER ADDRESS, CITY, STATE, ZIP CODE on

317 W Dalton Ave , Coeur d'Alene, ID 83815 POBOX*AYL9 Pacatetlo TD) BRA

TELEPHONE NUMBER
208-209-3353

DEALER NUMBER TELEPHONE NUMBER
1167

ets d teh 6) hs)

The ADMINISTRATOR of this Vehicle Service Acreement is Principal Warranty Corp., at 1500A E, College Way, PMB 541, Mount
Vernon, WA 98273, The telephone number is (855) 251-7175,

The entity obligated to perform under this Vehicle Service AGREEMENT, which is referred to as “We”, “Us” and “Our” throughout
the Vehicle Service Acreement Coverage Booklet, is PWC Warranty Services, Inc., 317 W Dalton Ave., Coeur d’Alene, iD 83815,
(855) 826-1162 unless indicated otherwise in the Special State Disclosures.

Purchase of this Vehicle Service AGREEMENT is not required in order to purchase or obtain financing for a motor vehicle. This
Vehicle Service Ackrement is not valid unless this DECLARATION PAGE is completed and attached to the Vehicle Service AGREEMENT
Coverage TERMS & CONDITIONS.

This DECLARATION PAGE shall be the basis upon which the Vehicle Service AGREEMENT is issued. Your signature indicates that You
have read the information set forth herein and agree that it is true and correct and that You accept the terms and provisions of
this Vehicle Service AGREEMENT and agree to be bound by the terms thereof.

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AGREEMEN 7 R'S Sust DATE DEA Any ORIZED SIGNATURE DATE

Vif peye.-10/18/2024 ix “LL 10/18/2024
aie ao oe ele aan aon niin ass
I CHOOSE ENROLL , TERM MONTHS/MILES PLAN SERVICE INTERVAL MONTHS/MILES
(Cl ves 1] no 24 / 30,000 Clepmi (Clppm2 6/ 7,500
AGREEMENT HOLDER'S SIGNATURE DATE DEALER AUTHORIZED SIGNATURE DATE
X 10/18/2024 x 10/18/2024

ADMINISTRATOR COPY / CUSTOMER COPY / DEALER COPY / LIENHOLDER COPY
©Capyright 2021, Principal Warranty Corp., LLC, All Rights Reserved

PAC-PWS-WIC-NAT-002 1 (1/2022)

Case 2:25-cv-00172-AKB Document11-2 Filed 04/28/25 Page 9 of 20
. , Dealer Phone #; 800-578-3307
Dealer Name: George Gee Cadillac Kia Dealer Fax #: 208-664-0432

PLEASE PRINT - INCOMPLETE APPLICATIONS WILL NOT BE PROCESSED.
You nay apply f edit i lone, whe! t ried
ou may a r cradit in your name alone, whether or not you are married. .
1 Please in icate whether you are applying for [J Individual Credit [1 Joint Credil (1 Community Property State ( Business Application :
bi (if you are applying for nani aoa your name and relying on your own income or assets and not the income or assets of another person as the basis of repayment of
the credit requested, complete only Section A, .
{3} G if you are applying for foil credit with another person, complete sections A and B, We intend to apply for joint credit.

Jason Henry Allen

Applicant Co-Applicant oo. a

* If you are married and five in a community property state, please complete Section A about yourself and Section B about your spouse. You must sign this application. Your spouse
ign this application only if s/he wishes to be a Co-Applicant. eT _.

4 “ORMATI ; 3 i

Last Name First Name Middle initial

SNIeT A

Urea

Social Security Number Birth Date

Allen Jason H 617170683 4/9/1983
Address City State Zip
2600 E Seltice Way Post Falls iD 83854
Home Phone Ceil Phone Residential Status Time at Addres:
323-377-5620 Homeowner []Rent [[] Family [[] Other {9 Yrs, 0 Rent/Mig. Pmt. $
E-Mail Address iver's License No. Oriver’s License State | Time at Previbus Address
Jason.alistor@gmail.com a CA O Yrs. 9___ Mos.
Previous Full Address (if less than 2 years) City State Zip
Employer Name Employment Type
Gt auto group LLC Employed [[] Unemployed [7] Self-employed [[] Military [7] Retired [] Student [J Other
A.
Salary Salary Type Occupation Length of Employment | Work Phone Number *
16930 (J weekly (1 Bi-weekly [7] monthly [4 Annuatly |General Manager 8 Yrs.6__Mos. {3035210134
Previous Employer Name Previous Employment Type
(2) Emptoyed [] Unemployed [[] Self-employed [[] Miltary [J Retired ([] Student (J Other
Previous Occupation Length of Employment Previous Work Phone Number

9  Yrs,0 Mos.

y, child support, or separate
Other income (Monthly)

Source of Other income

Comments

AGREEMENT

The words "we," "us," “our" and "ours" as used below refer to us, the dealer, and to the financial institution(s) selected to receive your application. You
understand and agree that you are applying for credit by providing the information to complete and submit this credit application. We may keep this
application and any other application submitted to us and information about you whether or not the application is approved. You certify that the information
lon the appiication and in any other application submitted to us, is true and complete. You understand that false statements may subject you to criminal
penalties. The words “you,” “your” and "yours" mean each person submitting this application. You authorize us to submit this application and any other
application submitted in connection with the proposed transaction to the financial institutions disclosed to you by us the dealers; in addition, in accordance
with the Fair Credit Reporting Act, you authorize that such financial institutions may submit your applications to other financial institutions for the purpose of
fulfilling your request to apply for credit. This application will be reviewed by the dealer and such financial institutions.

'You agree that we may obtain a consumer credit report periodically from one or more consumer reporting agencies (credit bureaus) in connection with the
proposed transaction and any update, renewal, refinancing, modification or extension of that transaction. You also agree that we or any affiliate of ours may
obtain one or more consumer credit reports on you at any time during the term of your financing. If you ask, you will be told whether a credit report was
requested, and if so, the name and address of any credit bureau from which we or our affiliate obtained your credit report. You agree that the dealer and the
financial institutions may verify your employment, pay, assets and debts, and that anyone receiving a copy of this is authorized to provide such dealer and
financial institutions with such information. You further authorize the dealer and the financial institutions to gather whatever credit and employment history
each considers necessary and appropriate in evaluating this application and any other applications submitted in connection with the proposed transaction.
You understand that we will rely on the information in this credit application in making our decision. The dealer and the financial institutions may monitor and
record telephone catls regarding your account for quality assurance, compliance, training, or similar purposes.

You consent to receive autodialed, prerecorded and artificial voice calls and text messages for servicing and collection purposes from us at the telephone
number(s) provided in this credit application, including any cell phone numbers. The consent applies to the dealer, who is the originating creditor in this
transaction, as well as any assignee who may purchase your credit contract. You agree that this consent applies regardless of whether you agree to receive
telemarketing/sales calls and text messages as provided below.

You consent to receive autodialed, pre-recorded and artificial voice telemarketing and sales calls and text messages from or on
behalf of dealer (or any financing source to which dealer assigns my contract) at the following number(s)
including any cell phone numbers. You understand that this consent is nota condition of purchase or credit.

You optin UO You do not optin
Signature of Applicant for election above: hut ie —

Your dealer will inform you of the namé“and address of the financing sources to which this application shall be sent.

| ~~ BY SIGNING BELOW, YOU CERTIFY THAT YOU HAVE READ AND AGREE TO THE TERMS AND DISCLOSURES ON ALL PAGES OF THIS APPLICATION.

10/17/2024

DATE
DT 5/23 Printed on 12/15/2023 16:03

10/19/24, 11:14AM Case 2:25-cv-00172-AKB Document 1P29°" Pitéd 64/28/25 Page 10 of 20
Dealertrack

by Cox Automotive

idaho Central Credit Union
George Gee Cadillac Kia 130837

— | | | | | l | | ll | | |
5062 7446
Applicant(s) Vehicle
Applicant Name Jason Allen Y/M/M 2023/TOYOTA/SEQUOIA
Co-Applicant Name - Condition | USED
. . . Trim CAPSTONE 4WD
Financing Information
VIN 7SVAAABA8PX0 11784
Product Retail
Mileage 21,229
Amount (includes TT&L) $79,465.00
Term A7zmos Stipulations
Acquisition Fee ~ 1, Max available backend of $13,195.00 can be sold.
Buy Rate 6.44% 2. Include copy of valid government issued identification for all
borrowers
LTV Ratio 108.40

3, Need $30 Membership Fee

FICO Score ~ 4, Aprocessing fee of $20 will be deducted from your dealer
Tier Level A participation
Reference Additional Information
Phone (208) 846-7100 ~
Email _ Comments
Fax (208) 637-8660 gg 1047/2024 4:54p.m.
Lender Support -  —paaailo®” Analyst
Ref ID a Thanks!
Decision Date 10/17/2024 4:54 p.m.
Analyst ICCU Indirect Buy Center 10/17/2024 4:53p.m.
Analyst
Thanks!
40/17/2024 4:15p.m.
pa” Analyst
Thanks!

htips:/Avw2,dealertrack.app.coxautoinc.com/dealjackets/310200025379421 21 O/deals/310200025379421212/decisions/credit/400023750/details/?form... 1/1

Case 2:25-cv-00172-AKB,._ Document 1-2... Fileg.04/28/25 Page 11
George Gee Cadillac Kia ge 11 of 20

Your Credit Score and the Price You Pay for Credit

Credit Score For ~~ Jason H Allen

-Your-Credit Score’ a ‘.. Seore: 706 {| Source: Equifax | Date: Oct. 17, 2024, 3:44 p.m.

Wate resi eiceiiais Me Asim OLCLe ae lec

Your credit score is a number that reflects the information in your credit report.

‘What you'should know - /
about cfedit Scores : Your credit report is a record of your credit history. It includes information about whether you pay your bills on
vo _ dime and how much you owe to creditors. Your credit score can change, depending an how your credit history

changes.

How we'use your credit

‘séore Your credit score can affect whether you can get a loan and how much you will have to pay for that loan.

Scores range from a low of 250 to a high of 900. Generally, the higher your score, the more likely you are to

The range of Scores be offered better credit terms.

‘ How your score compares
ta'the scores of other Quire FICO
consumers a! ne

4% of Consumers with Scores
ina Particular Range

43 SOCCER OGG-GHE NG?
ACG" Auto Soore & Range
BRON RR weave FOO Snnre. con PRY EPP 2 ANS

roast Cine Me cert mei ccs mess eee

You have a right to dispute any inaccurate information in your credit report. If you find mistakes on your credit
report, contact the consumer reporting agency. It is a good idea to check your credit report to make sure the
information it contains is accurate.

What if there are mistakes
“in-your credit report?

Under federal law, you have the right to obtain a free copy of your credit report from each of the nationwide
consumer reporting agencies once a year.
To order your free annual credit report:

By telephone:
Call toll-free: 1-877-322-8228

How. can you obtain a. ’ On the web:
copy of your credit report? Visit www.annuaicreditreport.com

By mail:
| Mail your completed Annual Credit Report Request Form (which you can obtain from the Federal Trade
> Commission's web site at httpy//Awww. fic. gow bep/conline/include/requestformfinal pdf ) to:

Annual Credit Report Request Service

P.O. Box 1052814

Atlanta, GA 30348-5281

How can.you-get more "For more information about credit reports and your rights under Federal law, visit the Consumer Financial
information? ©”. Protection Bureau's website at www.consumerfinance.gov/leammmore

Loder [eo fost
Signature Su, ; z yt ott ELOMSE. Date fo iy ut

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Case 2:25-cv-00172-AKB Documenti1-2 Filed 04/28/25

George Gee Kia Cadillac

Dealer:

Page 12 of 20

Jason Henry Allen

Customer 1:
Customer 2:
Vehicle Purchased: 2023 Toyota F
ADDITIONAL REFERENCES
NAME RELATIONSHIP § ADDRESS PHONE NUMBER
Corinne Allen Mom Post Falls ID 7149046014
3233468119

Syria Matienez Friend Hayden ID

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3
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;
i

Case 2:25-cv-00172-AKB Document 11-2

GEORGE GEE CADILLAC KIA
317 W DALTON AVE

COEUR D'ALENE, ID 83815
208-667-7416

RETAIL PURCHASE AGREEMENT
[MOTOR VEHICLE PURCHASE CONTRACT]

Purchaser's Name(s): JASON HENRY ALLEN

Filed 04/28/25

CUST# 71483
56475

Deal #:

Page 13 of 20

Date:

10/18/2024

Address:_2600 E SELTICE WAY POST FALLS, ID 83854

County; _KOOTENAI

Telephone (1):_323-377-5620 Telephone (2):

E-Mail:_ JASON. ALISTOR@ GMAIL.COM D.L./State |.D.+; iii

Issuing State:CA

DOB; a7

Exp. Date:

The above information has been requested so that we may verify your identity. By signing below, you represent that you are at least 18 years of age and have authority to enter into this
Agreement. The Odometer Reading for the Vehicle you are purchasing is accurate unless indicated otherwise, Please refer to the Federal Mileage Statement for full disclosure.

YEAR MAKE MODEL COLOR STOCK NO.
2023 TOYOTA SEQUOIA SILVER PC10558U
VIN/SERIAL NO. ODOMETER READING SALESPERSON
TSVAAABABPX011784 (Not Accurate 21270 NATE BENZ
THE VEHICLE IS: PRIOR USE DISCLOSURE:
CIDEMONSTRATOR OO EXECUTE Pre-Driven) ORENTAL CPRIORLEASE OD OTHER
fe - To ae : ox Se ; me to z eS j
a JARI ANTY ST. NT ao i ie ©] CASH PRICE OF VEHICLE 74500.00
We are selling this Vehicle to you AS-IS and we expressly disclaim all warranties,
express and implied, including any implied warranties of merchantability and fitness | WE OWES 399,00
for a particular purpose, unless the box beside “Used Vehicle Limited Warran
Applies” is marked below or we enter into a service contract with you at the time of, N/A N/A
or within 90 days of, the date of this transaction. Any warranties by a manufacturer or
supplier other than our Dealership are theirs, not ours, and only such manufacturer or SERVICE CONTRACT 3995.00
supplier shall be liable for performance under such warranties. We neither assume
nor authorize any other person to assume for us any liability in connection with the | PROSIDIUM GAP 895.00
sale of the Vehicle and the related goods and services. CONTRACTUAL DISCLOSURE
ED VEHICLES ONLY) The information you see on the window form |N/A N/A
for this Vehicle Is part of this contract. Information on the window form overrides any
contrary provisions in the contract of sale. ola: . N/A N/A
© Used Vehicle Limited Warran lies. We are providing the attached Limited Warranty in | DEALER DOCUMENTATION FEE*
connection with this Beata AN implisd warrerities apply for the duration of the tinted DEALER DOCU T E 399.00
arranty.
y x TOTAL SELLING PRICE 30188,00
Year: Make: Model Color TITLE FEE 19.90
wa N/A N/A
VIN/Seriai No: Odometer Reading:
O Not Accurate N/A NWA
NA SUBTOTAL
Trade-In Allowance: Balance Owed & Lienhoider: 80207.00
N/A A SALES TAX 4493.94
i eet eat tee 4 RESCH RAN Ha es chats Npog erste Be Healiath pea
aa ire Rens clcoe nnn eugene tne ee nner me gy ULE FEE N/A
OIF BOX 1S MARKED, PLEASE SEE THE DELIVERY CONFIRMATION
N/A N/A
N/A N/A
N/A N/A
**The Deposit/Down Payment received from ou ig not]*Dealer Documentation Fee: This fee is not required | N/A N/A
fefu . except as set forth in this Retail Purchase |p Iti tional fee chi db Dealershi
Agreement. in the case of a Deposit, we will refrain from|yy tM cur conte fot providing acrinistrative ang | TOTAL DUE 84700.94
selling the Vehicle for days. documentary services in connection with this DEPOSIT/DOWN PAYMENT** NA
X transaction,
Dif this box is marked, please see the Conditional (Spot) Delivery Agreement and Paragraph 16. N/A N/A
YOU AND THE DEALER HAVE AGREED THAT THE MOTOR VEHICLE WA N/A
WILL BE DELIVERED TO YOU PRIOR TO THE PURCHASE. IF FINANCING
CANNOT BE ARRANGED ON THE TERMS AND WITHIN THE TIME)LEess CaSH DUE AT DELIVERY NIA
PERIOD AGREED UPON IN THE MOTOR VEHICLE PURCHASE CONTRACT, iiisount 10 BE FINANCED
THE CONTRACT iS NULL AND VOID. (See Paragraphs 12 and 16} 84700.94

agreement or understanding of any nature concerning the same

This Agreement and any documents which are part of this transaction or incorporated herein comprise the entire agreement affecting this Retail Purchase Agreement and no other
3 x a has been made or entered into, or will be recognized. | have read all of the terms and conditions of this Agreement,

and agree to them as if they were printed above my signature. | further acknowledge receipt of-a.copy of this Agreement. This Agreement shall not become binding until signed
D ee nt tt

fershio Representative.

VINA UE KOO

and accgpted by an Author

N/A

Purchaser

§3259*1*GGC-FI
DéalerCAP

CATALOG #8963456

Accepted by Authorized Dealership Representative

@ 2015 CDK Global, LLC Idaho (01/16)

ADDITIONAL AGREERERTS/ BETWEEN EE DEALERSHIP AND PURCHASERIS)25 Page 14 of 20 initial
1,

Terms Used In This Agreement: This Retail Purchase Agreement contains the following words and phrases that appear throughout this Agreement and have

particular meanings:

+ Agreement, Contract, Motor Vehicle Purchase Contract - Means all of the pages of this Retail Purchase Agreement together with any documents
incorporated Into this Agreement by referance, whether such reference is made in this Agreement or in the document itself.

You, Your - Means the Purchaser(s) identified in this Agreement.

We, Us, Our - Means tha Dealership that is identified in this Agreement and its Authorized Representatives.

Manufacturer - Means the company that manufactured the Vehicle.

Vehicle - Means the Vehicle that you are purchasing from us as describedinthis Agreement,

* Trade-in Vehicle - Means the vehicle you are delivering to us as part of this transaction as identified in this Agreement.

2. Our Right to Increase the Price: We may increase the price of the Vehicle after we accept this Agreement if the Trade-In Vehicle is reappraised, new required or
optional equipment is added, revaluation of the United States dollar {in the case of foreign-made vehictes or components), or_an increase in transportation charges
due to increased rates imposed by a carrier. If the price is increased, you may cancal this Agrasment with full retund of any Deposit/Down Payment, provided that
the cancellation occurs prior to you taking delivery of the purchased Vehicle.

3. Manufacturer's Design Changes: In the event the Manufacturer changes or modifies the design of or any part or accessory of the Vehicie after your order for the
Vehicle has been entered by us, you will not have any claim or right against us if the Vehicle does not contain such changes or modifications, nor shall we be
required to effect such changes or modifications to the Vehicle.

4, Your Representations and Warranties: You represent, warrant and affirm to us that (a) You are not purchasing a new Vehicle for resale or export within the
period beginning on the date the Vehicle title is Issued to you and ending on the date one (1) year thereafter. You confirm that we ara relying on this representation
and agree that we would not seil the Vehicia to you without this representation. It we are required by the Manufacturer to forfeit or rapay any manufacturer Incentives,
allowance and/or special pricing, or if we suffer any loss or harm as 4 result of your breach of this provision, you agree to indemnify and hold us harmless from
any such cost, loss or harm suffered as a result of or arising because of your breach; (6) the Oeposit/Down Payment and any amounts due to us have been paid
in full, any check given to us will be honored by your Bank, and that no part of the Deposit/ Down Payment has been loaned to you by us or any third party; (c) all
statements made by you in this Agreement and any other documents completed in connection with this transaction are true and correct; and (d) you are who you
have represented yourself to be and you have purchased the Vehicle for your own use and not on behalf of anothar person, unless you have disclosed otherwise
1 Us.

§. Your Representations Regarding the Trade-in Vehicle: Any Trade-in Vehicle delivered by you to us in connection with this transaction shall be accompanied by
a Certificate of Title or documents sufficient to enable us to obtain a Certificate of Title to the Trade-in Vehicle in accordance with applicabie state law. You warrant
that the Trade-In Vehicle delivered to us is properly titled to you, has never been titled as or declared a total loss/destroyed, salvage, junk, rebuilt, reconstructed,
flood, or lemon buyback vehicle; that you have the right to seil or otherwise convey such vehicle; that such vehicle is free and clear of liens or encumbrances, except
as may be noted in this Agreement; all emissions control equipment is on the vehicle and in satisfactory working order; and, unless you have told us otherwise,
that you have not ramoved any equipment from the vehicle subsequent to our appraisal and that the odometer reading showm is accurate.

6. Trade-In Vehicle Payoff: if you are delivering a Trade-In Vehicle in connection with this transaction and the actual amount of the Balance Owed on the Trade-In
Vehicle is greater than the amount of the Balance Owed as listed in this Agreement, you agree to pay the difference to us. If the actual amount of the Balance Owed
is less than the amount listed, we will pay or credit the difference to you.

7, Our Appraisal of Your Trade-in Vehicle: If you are delivering a Trade-In Vehicle to us in connection with this transaction and the Celivary will not be made until
delivery of the Vehicle being purchased, we shall have the rignt to reappraise your Trade-In Vehicle at the time of delivery. You understand that we may renegotiate
tha amount of the Trade-In Allowance for the Trade-In Vehicle if (i) you fail to disclose that the Certificate of Title to the Trade-In Vehicle has been branded for any
reason: (i) the Trade-In Vehicle incurs substantial physical damage or latent mechanical defacts arise before we take possession of the vehicle that could not hava
been reasonably discovered at the time this Agreement was completed; (iil) the odometer reading reflects the addition of five hundred (S00) miles or more between
the time the vehicle was first appraised by us for purposes of determining the Trade-In Allowance and the time of actual delivery of the Trade-In Vehicle to us; or

iv) there Is a discrepancy between the signed Odometer Statement and the mileage refiected on the Trade In Vehicie’s odometer or the actual mileage on the
rade-In Vehicle. if you are dissatisfied with the reappraisal, you may cancel this Agreement with fuil refund of any Deposit/Down Payment, provided that the
cancellation occurs prior to you taking delivery of the purchased Vehicle.

& Remedies Upon Rightful Cancellation: You agres that we are not liable for any damages resulting from our failure to deliver the Vehicle if the failure is caused by
the manufacturer, an accident, fire, act of naturé or any other causes beyond our contral. This Agreement may be renegotiated or canceled (with full refund of any
Deposit/Dewn Payment) if the Vehicle is not delivered to you on the date specified or pursuant to Paragraphs 2 or 7. Hf you have delivered a Trade-in Vehicle to us,
the Trade-In Vehicle wili be returned to you if we have not already sold it. if we have already sold the Trade-in Vehicle, we will refund the agreed upon Trade-in
Allowance. Regardless of whether we return the Trade-in Vehicle or have already sold it, you shall be responsible for paying to us the Balance Owed on the Trade-
in Vehicie if we have paid the Balance Owed to the Lienholder. Wa may keap any portion of the amount you hava paid to us as a Daposit/Down Payment and any
Trade-In Allowance we owe to you to offset against the amount you owe us. If the actual arnount you oWe to us is greater than the amount of the Deposit/Down
Payment, you agree to pay the difference to us. if the actual amount you owe is less than the amount of the Deposit/Down Payment, we will pay the differance to
you. You are responsible for pa ing ine cost of repairing any damage and any other loases, liabilities, damages, claims, costs and expenses arising out of your
use, posseasion and control of the Vahicle.

9. Purchaser's Default and Dealership's Remedies: In the event you have agreed to pay the Amount to be Financed in cash or financing is being obtained by you
through a credit source of your choice and we do net recelve the Amount to be Financed from you at the time of delivery of the Vehicle or on the date promised in
this Agreement, you fail to perform any of your other obligations under this Agreement, or you breach any representation or warranty made by you to us, we shall
be parmitted, at our sole discretion, to the chaice of remedies in this Agreament, which may be used Separately or together, including: (1) cancei this Retail Purchase
Agreement; (2) repossess the Vehicle without notice {if permitted by law); (3) rescind the sales transaction; ff } saek collection for amounts due; (5) retain any cash
down payment made by you; and/or (6} in the event that you have delivered a Trade-In Vehicle as part of the consideration for your purchase of the Vehicle from
us, to sell such Trade-In Vehicle and reimburse the Dealership out of the proceeds of such sale for any reasonable expenses incurred in connection with pre aring
and offering the Trade-in Vehicle for sale and any actual damages suffered by us as a result of your default. Regardless of whether we retum the Trade-In Vehicle
or have already sold it, you shall be responsibie for paying to us the Balance id on the Trade-in Vehicle if we have pald the Balance Owed to the Lienholder and
for any reasonable expenses Incurred by us in connection with preparing of reconditioning the Trade-In Vehicle for sale. Any remedies in this Paragraph 9 shall be
in addition to, and not In lieu of, any other remedies available uncer the Retail Purchase Agreement or at law or equity. Any waiver of all or part of a remedy hereunder
is not a continuing waiver. If the actual amount you owe to us is greater than the amount of the down payment and/or proceeds from the sale of your Trade-in
Vehicle, you agree to pay the difference to us upon demand and ifthe actual amount you ows is less, than we will pay the difference to you.

10. Security Agreement: Purchaser heraby grants the Dealership, its successors and assigns, a security interest in the Vehicle, equipment and accessories to be
Purchased pursuant to this Agreement, and such security interest shail remain in effect until all sums due hereunder have been paid in full.

11. Other Products and Services: The Dealership offers its customers goods and services from various suppliers. The amounts charged to customers for such goods
or services may be greater than the Dealership's cost, and/or the Dealership may receive a commission or other paymant in connection with such sale. You are not
required to purchase any other goods or services from us, nor are you required to finance the Amount to be Financed under this Agreement with a particular lending
source. In the event this Agreement includes a charge for other goods or services for which you must complete an application for coverage, and for any reason
such coverage cannot be provided, you will receive a credit for the amount chargad. If the cost of other goods or sarvices was included in the amountto be financed
in connection with this transaction, then this credit will be applied to the outstanding balance you owe to the Lender.

12. Dealer Assisted Financing: If we assist you to obtain financing for this transaction, the Annual Percentage Rate may be negotiated with us and we may receive a
fee, commission or othar compensation from the Lender. We do not make any representations or warrantias regarding whether you obtained the best rate or could
have obtained a batter rate from us or a third party.

13, CONTRACTUAL DISCLOSURE STATEMENT (USED VEHICLES ONLY) The Information you see on the window form for this Vehicle is part of thie contract.
information on the window form overrides any contrary provisions in the contract of sate. SPANISH TRANSLATION: Guia para compradores de vehicules
usados. La Informacién que ve en el formulario de Ia ventanilla parta este vehiculo forma parte del presente contrato. La informacién del formulario de
la ventanilla deja sin efecto toda disposiclén en contenida an el contrato de venta.

14, GOVERNING LAW: THE TERMS AND CONDITIONS OF THIS AGREEMENT (INCLUDING ANY DOCUMENTS WHICH ARE A PART OF THIS TRANSACTION OR
INCORPORATED HEREIN BY REFERENCE) AND ANY SALE HEREUNDER WILL BE GOVERNED BY THE LAWS OF THE STATE OF IDAHO.

15. LIMIT ON DAMAGES: TO THE EXTENT PERMITTED BY IDAHO LAW, PURCHASER EXPRESSLY WAIVES AND SHALL NOT BE ENTITLED TO RECOVER FROM
THE DEALERSHIP ANY CONSEQUENTIAL DAMAGES, DAMAGES TO PROPERTY, DAMAGES FORA LOSS OF USE, LOSS OF TIME, LOSS OF PROFITS OR
INCOME, OR ANY OTHER INCIDENTAL DAMAGES.

16. SPOT/CONDITIONAL DELIVERY AGREEMENT/LIMITED RIGHT TO CANCEL: You may secure financing for this transaction through us or a financial institution
of your choice. If you have elected to secure financing though us, the provisions of the Spot Delivery Agreerant/Limited Right to Cancel will apply. This Agreement
is void if: (1) you provide false or incomplete information regardin our creditworthiness; (2) your credit application is no approved by a financing source: or (3)
your purchase is subject to the Spot Delivery Agreemant/Limited Right to Cancel and the Relail Installment Sale Contract is not accepted or approved by a financing
Source On terms acceptable to us.

17. Entire Agreemant and Signing Other Documents: This Agreement and any documents which ara part of this transaction or incorporated herein by raferance
comprise the entire agreement affecting this transaction, No other agreement or understanding of any nature has been made or will be recognized. You agree to
sign any and all documents necessary to complete the terms of this transaction.

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DéalercAe CATALOG #aga34e6 © 2018 CDK Global, LLC idaho (01/16)

DEAL# 56475
CUST# 71483
STK# PC10558U

This is not a Certificate of Title

CasReport- Of Bak Anddpplication féeCartifesaterafchitle 20:0 os02 rev. 00-14

Supply # 01-807050-1
Control Number

~ Must be Legible ~ Idaho Transportation Department - Division of Motor Vehicles © Q 8421588

X

Any previous liens on the trade-in vehicle that is listed on this application for title will be satisfied in full by the dealer within 10 business days
unless the owner relinquishing possession has signed below.

|, the owner relinquishing possession, acknowledge that i am responsible for satisfying all liens within 10 business days (idaho Code 49-1608A)

[] Rebuilt Salvage

[| Previous State Brand

f] Reconstruct

[-] Repaired [C] Other

Previous idaho Title No. 1st Vehicie or Hull Identification No. 2nd VIN If Assigned
5 7SVAAABA8PX011784
2! Year IMake Body Type Modei Description 'Color (Primary/Secondary}
| 2023 TOYOTA UV SEQUOIA SILVER
= Fuel Type Wheel Base —_—| Weight ‘Length ‘Width Hull Material Horsepower ‘Propulsion
. | | |
Odometer Reading Odorneter Status Odometer Reading Date | Previous State /Previous State Brand Previous State Title No,
21270 CF Actual C1 in Excess i
Ci Not Actuet [] No Device [3 Exempt 10/18/2024 i
Type of ClNew [Used [Demo [Courtesy Delivery [JLease [_] Rental
Owner #1 Full Legal Name (Last, First, Middie) or Business Name | Idaho Driver's License Number or SSN/ EIN if Business | I Or CJ And
ALLEN JASON HENRY OLsR C1OBA
wher #2 Full Legal Name (Last, First, Middle) or Business Name idaho Driver's License Number or SSN / EIN if Business | [ or CO And
MLSE [J OBA
Owner #3 Full Legal Name (Last, First, Middle) or Business Name idaho Driver's License Number or SSN / EIN if Business ~—
1 Physical Address of Owner's Current Legal Residence or Business ‘City State Zipt+4
2600 E SELTICE WAY | POST FALLS ID __ 83854
Mailing Address if different from Owner's Current Legal Residence (City State \Zip+4
I |
|
rimary Lienhoider Name 'Mailing Address City State |Zip+4
Deouw | bq cajello 33x20’
ATOM PINANCTA + Po Boxer 216 ap |
Secondary Lienholder Name ‘Mailing Address City |State Zip+4

if motorcycle/motorbike, the FMVSS sticker is present ClYes []No

‘Dealer's Seller's Permit No. ‘Lessors Sellers Permit No. Delivery Date
003955075 je 10/18/2024
Gross Taxable Sales Price (include Taxable Fees) $ 74899.00..
ebates (Motor Vehicles Only} NYA
‘Adjusted Gross Sales Price 74899.00 |
‘TTrade-in AUOWANCE oc sceessecsesnssesecssnssesteseenesten $ NYA_|
ssoonnsaaguntysnavananeepngeneninnnenes 74899.00_
4493.04
(7 Tax Exempt - Enter the tax form number used ee ___
Trade-In Information _
ear Make Body Type | Model
ehicle or Hull identification No. (VIN/HIN)

|_GEORGE GEE CADILLAC KIA

idaho Deater No.

‘Dealer Address

3] 7.W.DALTON AVE.

Q047

{Phone No.
| ____ 208-667-7416 |

iState Zipt4
ip 83815.

COEUR D'ALENE
4 | certify under penalty of perjury pursuant to the law of the State of idaho that!
have physically inspected the vehicle/vessel described in Section 1, and the
VIN/HIN and date of this application are correct. | have identified the person(s)
signing this application and witnessed their signature. | further certify that all

| information contained herein is true and correct to the best of my knowledge and
| belief. | also release all interest in this vehicle/vesse! unless | am listed as
fienhoider or owner on this spplication for title.

uthorized Signature

“Title

Date
10/48/2024

By signing below, | certify under penalty of perjury pursuant to the law of the State of Idaho to all of the following statements: that the vehicle/vessel described
above is owned by me and { hereby make application for a Certificate of Title for said vehicle/vessel that this vehicle/vessel will not be subject to a lien prior to
receipt of the title unless indicated; that all information contained herein is true and correct to the best of my knowledge and belief; that this vehicle will be

continuously insured as prescribed by Idaho Code 49-1229; and that the signature below is my true and legal signature.

X

Date

Applicants-Signalyre(s)
i A Af oti

1 GUGLAMS

White — idano Transportation Department Copy

t
10/18/2024‘ 323 377-5620

‘Daytime Phone Number

59084*1*GGC-FI
10/47/24, 4:12 PM Dealersiink
Case 2:25-cv-00172-AKB Document 11-2 ~ Filed 04/28/25 Page 16 of 20

cy» George Gas Cadillze Kia , : Phone! (0sjee7-7416

ype SPH West Dalton Ave. . . eel i
(GEORGE GEE «Colur d'Alene 16, 64818 ois S wiww.geskia net

COEUR D'ALENE

2023 Toyota Sequoia 241,228 Miles
VIN: TSVAAABASPXO11784 Stock: POTOSS8U

y= (Exel ing / Additions} Wholesate Retail
LD. Power $89,525 $76,250
KBB $73,309 $76,559
Average S74 GAT $78,965
LD.POWER Bet 2024 (Curter) Wholesale Retalt
Base Value $68,850 $74,875
Mileage Adjustment (21,229 Miles} 8875 8575
Subtotals $89,525 $76,286
Accessories / Tims
“Tow Fachnology Pkg. $0 $0
Heads-Up Display $0 #0
JBL Stareo System ag $0
Panoramic Power Sunroof &6 $o
Powar Running Boards : So $6
Accessories / Trin Subtotal $6 $8
Total Value $65,528 $75,259

Qet 14, 2024 {Current} Wholesale Typical

Condition: Goud {Lending} Listing
Base Value 974,886 $75,136
Mileage Adjustment (21,228 Miles} $1,423 $1,423
Subtotals $73,309 $76,555
Accessories / Trim
V6, i-FORCE MAX, Hybrid, Twin Turbo, 3.4 Liter included included
Automatic, 16-Spd included Included
awd included Included
Bind-Spat Monitor Included included
‘Tow Technology Pkg included induded
Hig Start Assist lacluded included
Traction Contral tocluded included
Stability Control Included induded
ABS (4-Wheel} included included
Alarm System lochuded included
Keyless Entry included included
Push Bution Start Included included
Air Conditioning Included included
Ale Conditioning, Rear inchided included
Power Windows jncluded included
Power Door Locks lncluded included
Dynamic Cruise Contra! Included included
Power Lifigaiea Release Included included
Power Stearing included includedt
Tik & Telescoping Wheel focluded included
Head-Up Display inchided included
AM/FMIHD Radio included included
VBL. Premiurn Sound included included
SirusXM Satellite Included included
Navigation System Included included
Bluetooth Wireless included included
F&R Parking Sensors included included
Backup Camera included included
Panoramic View Monitor included locluded
Dual Ak Bags Included included
Side Air Bags included included
F&R Head Curtain Air Bags included included
Koee Alp Bags Included included
Lane Depanure Waring System included included
Heated & Verdilatad Seate FAR included included
Gual Power Seats Included focluded
Leather Inchidedt Inckuded
Quad Seating (4 Buckets} Included Included
Panorama Roof included included
Dlayime Running Lights inchuded Included
LED Headlamps included Inctuded
Fag Lights Included included
Towing Pkg included Included
Alloy Wheels Included: included
Ascassaries / Trim Subtotal $¢ $8
Total Value $73,309 $76,559

hitos:/Awww.dealersiink.com/network/astbook/valuaterx/index.cim?vin=7 SVAAABA8PXO011 7 848tab=kbb&return=imexportprogretumiD=2377146928vi... 1/4

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ve Aashos onmr—eimann eny vrenmans n meme e8

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cate sears ePOrt Of Sale And Application for Certificate of Title rp osoz (rev. 09-14)

cca CUST# 71483 This is not a Certificate of Title Supply # 01-807050-1
STK# PC10558U Contro! Number

~ Must be Legible ~ Idaho Transportation Department - Division of Motor Vehicles CQO8421588

Any previous liens on the trade-in vehicle that is listed on this application for title will be satisfied in full by the dealer within 10 business days
unless the owner relinquishing possession has signed below. |
|, the owner relinquishing possession, acknowledge that | am responsible for satisfying all liens within 10 business days (Idaho Code 49-1609A)

x

[] Rebuilt Salvage [] Previous State Brand [[] Reconstruct [J Repaired [[) Other

Previous Idaho Title No. itst Vehicle or Hull [dentification No. 2nd VIN if Assigned
|  7SVAAABAS8PX011784
»| Year Make Body Type Model Description Calor (Priman/Secondary)
4 2023 TOYOTA UV ' SEQUOIA SILVER
‘Fuel Type Whee! Base Weight ‘length Width THull Material “|Horsopower ——«{[ Propulsion
i i
-\Odometer Reading (Odometar Status Odometer Reading Date Previous State |Previous State Brand Previous State Title Na.
21270 a Actual C] in Excess ;
iC] Not Actus! [1] No Device [ Exempt 10/18/2024 i

Type of | New Used []Demo [Courtesy Delivery [Jlease  [_] Rental

{Owner #1 Full Legal Name (Last, First, Middle) or Business Name idaho Driver's License Number or SSN / EIN if Business Hor Ans

ALLEN JASON HENRY nm sR (DBA
Owner #2 Full Legal Name (Last, First, Middle) or Business Narne idaho Driver's License Number or SSN / EIN if Business | 7) of CO And

CILSE [08a

Owner #3 Full Legal Name (Last, First, Middle) or Business Name Idaho Driver's License Number or SSN / EIN if Business

:| Physical Address of Owner's Current Legal Residence or 8usiness City State iZip+4
2600 E SELTICE WAY __ | POST FALLS 1D__|__ 83854
‘| Mailing Address if different from Owner's Curreni Lega! Residence City ‘State |Zip+4
‘ Primary Lienhoider Neme iMailing Address City State |Zip+4
a L ce tetle AsROL’

+ po.pox-ser 2464 eto + Ip_| -agsetz089%=
i Secondary Lienholder Name pene Address City State |Zip+4
3

Deatar's Seller's Permit No. Lessors Sellers Permit No. Delivery Dale If motorcycle/motorbike, the FMVSS sticker is present CI Yes C No

003955075 i 40/18/2024 i ealer Name idaho Dealer No.
‘| GEORGE GEE CADILLAC KIA 004
Gross Taxable Sales Price (inciude Taxable Fees) $ 74899,00._. SeOEeE SE Baars Ne, 047
Rebates (Motor Vehicles Only)... c esses $ N/A
317.W_DALTON AVE _.._208-667-7416 |
Adjusted Gross Sales Price ....cssuuseegerercseanasee: 3 74899.00 | {City State [Zip+4
4 Trade-In ANOWANCE on ceerecenesseseusetenrerennenenecens $ N/A_| | COEUR D'ALENE ID B2815
74899.00 | certify under penalty of perjury pursuant to the law of the State af Idaho that!
have physically inspected the vehicle/vessel described in Section 1, and the

| VIN/HIN and date of this application are correct. | have identified the person(s)

1 signing this application and witnessed their signature. | further certify that all

1 information contained herein is true and correct to the best of my knowledge and
belief. | also release ali interest in this vehicle/vesse! unless | am listed as
Trade-In Information lienholder or owner on this application for title,

Year Make (Body Type Model orized Signature
| p
| | X-

Vehicle or Hull identification No. (VIN/HIN} ~ ; Title Date

3 H{ Tax Collected ......arsrsssssssssssseesessrrcsrssccescoeecaenetcees $ 4493.94

A
MEK 40/48/2024.

By signing below, | certify under penally of perjury pursuant to the law of the State of Idaho to all of the following statemonts: that the vehicle/vessel described
above Is ownad by me and | hereby make application for a Certificate of Title for said vehicle/vessel; that this vehicle/vessel will not be subject to a Sien prior to
‘receipt of the title unless Indicated; that all information contained herein is true and correct to the best of my knowledge and batief; that this vehicle will be

.| continuously insured as prescribed by Idaho Cade 49-1229 and that the signature below is my tue and legal signature.

2! ApplicanysFignalyre(s)4 Oe . Co nennnseaes. sn, | Date (Daytime Phone Number
i AALS Cetienag glues x tortemoea —_|-82a) arz-s20_|

White ~ idaho Transportation Department Copy 59084°1°GGC-FI

J PSR RSE OBE RO = ©Gase 2:25-ev-004 42-AKB= = Document 14-2 = -Filed:04/2825 « Page 18 of 20

_ Idaho Insurance ID Card

| GEICO GEICO Secure Insurance Company
| 2023 TOYOTA SEQUOIA
Vehicle ID No. 7SVAAABA7PX014501

Policy Number Effective Date Expiration Date
63-97 = 10/08/24 (12/28/24

Named Jason Henry Allen
insured(s) Sayra Alejandra Allen

1200 E Seltice Ave. Post Falls ID 83854
‘FOLD RERE FOLD HERE FOLO HERE FOLO HERE FOUD HERE FOLO HERE
2023 TOYOTA SEQUOIA

Additional Drivers

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et

| ‘04091983
HAIR-BLN EYES Hat

SWGT 2001b yes

7612RE/CCFOIZ7 04/08/2022

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idaho _
Central

CREDIT UNION

Membership Information & Amendment to Retail Installment Sale Contract / Insurance Information

This Amendment to Retail Installment Sale Contract amends the Retail Installment Sales Contract entered into by the Buyer and, if
applicable, Co-Buyer listed below and Creditor-Seller, dated d CCT (“Finance Centract”). By signing below you acknowledge
that you are obtaining a loan as a member of Idaho Central Credit Union. [f you have not dane so previously, a membership share
account will be opened in your behalf in the arnount of $25.00 and a membership fee of $5.00 may be collected. Specific membership
terms and conditions will be supplied to you through mail upon completion and origination of your loan with tdaho Central Credit Union.
www. iccu.com/file/account-agreement.pdf

The Finance Contract is amended to add the following provisions:

insurance:

The physical damage insurance on your vehicle must include comprehensive and collision coverage and may not have a deductible higher
than $1,000 for either. Your insurance must name Idaho Central Credit Union as the loss payee.

All other agreements, terms, and conditions set forth in the Finance Contract remain in full force and effect. By signing below, you agree
that you have read this document in its entirety and agree to the terrns and conditions hereof:

Membership Information
Lam eligible to be, or already am, a member of idaho Central Credit Union.

idaho i am employed or self-employed, a student, or a retiree in idaho
Washington | [2] live or work in the boundaries of a Washington School District
Oregen EC] five or work in Umatilia, Wallowa, Union, Baker, or Malheur County in Oregon,
Other EJ am a member of another credit union that operates in idaho
El live, work in, or attend school in Jackpot, Nevada

Preferred Contact Number
Your consent allows ICCU to use text messaging, artificial or prerecorded voice messages and automatic dialing technology for
information and account service calls as well as marketing calls. You may contact [CCU at any time to change your preferences regarding
your mobile phone,

Tasew Alber

Member Name Joint Member Name

29.3 -377- C20 Delrrobit Land Line F|mtobitel hand Line

Member Phone Number Joint Member Phone Number

a) tow - AlisteR@ Guwil- Co vm

Membe at

Joint Member Email

: [3 eT 24
oh Teor NEEW ae Date Joint Member Signature Date
Insurance Information References

Insurance Company: 1. Name:

Policy #: Relationship: Phone:

Agent Name: 2. Name:

Agent Phone: Relationship: Phone:
3, Narne:
Relationship: Phone:

Updated 03/21

